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      EXHIBIT 16
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Cable: 09DOHA314_a
,
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    QATAR COMMITS USD 40 MILLION FOR UN OPERATIONS IN GAZA

    Date:                                                                 Canonical ID:
    2009 May 12, 11:24 (Tuesday)                                          09DOHA314 a


    Original Classification:                                              Current
    SECRET,NOFORN                                                         Classification:
                                                                          SECRET,NOFORN


    Handling Restrictions                                                 Character Count:
    -- Not Assigned --                                                    5350



    Executive Order:                                                      Locator:
    -- Not Assigned --                                                    TEXT ONLINE


    TAGS:                                                                 Concepts:
    EAID - Economic Affairs--Foreign Assistance I GZ - Gaza Strip I       -- Not Assigned --
    PREL - Political Affairs--External Political Relations I QA - Qatar

    Enclosure:                                                            Type:
    -- Not Assigned --                                                    TE - Telegram
                                                                          (cable)


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    -- N/A or Blank --                                                    -- Not Assigned --


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    From:                                                                 Markings:
    Qatar Doha                                                            -- Not Assigned --
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 To:
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 Israel Tel Aviv I RUEHRO USMISSION ROME I Secretary of State
 Sudan Khartoum I The Cooperation Council for the Arab States of
 the Gulf I United Nations (Geneva) I United Nations (New York)



Content

SECRET SECTION 01 OF 02 DOHA 000314 NOFORN SIPDIS E.O. 12958: DECL:
03/25/2033 TAGS: EAID, PREL, QA, GZ SUBJECT: QATAR COMMITS USD 40 MILLION
FOR UN OPERATIONS IN GAZA REF: A. DOHA 176

Show Headers

B. DOHA 181 Classified By: CDA Michael A. Ratney for Reasons 1.4 (b) and (d).
- (SBU) KEY POINTS                        Qatar reached agreement in late April to contribute
USD 40 million to several UN agencies working on Gaza reconstruction and humanitarian
relief operations. -- The GOQ is using a private organization, Qatar Charity, as its agent for
interfacing with the UN agencies. Qatar Charity is hoping to position itself as a humanitarian
partner when the GOQ wants to use aid to underpin its political initiatives.
COMMENTS                    (C) The Qatari donation to UN agencies is in line with the kind of
donations the USG has been encouraging Qatar to make. However, this contribution is
dwarfed by the size of outstanding Qatari pledges for Gaza aid, most of which may go
through non-UN or non-PA channels. The GOQ has pledged to contribute USD 250 million
through the Gulf Cooperation Council's own reconstruction mechanism, while Qatar Charity
pledged to provide USD 100 million in support of Gaza relief (the recently announced USD
40 million comprises one portion of that). -- (SBU) During and after the conflict, private Qatari
charities raised millions of dollars, and sent small medical teams and supplies into Gaza.
Because they still lack established relief networks in Gaza, they may be turning to more
established mechanisms such as the UN as a means to distribute funds. -- (S/NF) Qatar
Charity is also an entity of concern to the USG due to some of its suspect activities abroad
and reported links with extremists. In March 2008, Qatar Charity was listed as a priority III
terrorism support entity (TSE) by the Interagency Intelligence Committee on Terrorism (IICT),
after having demonstrated intent and willingness to provide financial support to terrorist
organizations willing to attack US persons or interests, or provide witting operational support
to Priority I-II terrorist groups. End Key Points and Comments. 1. (SBU) Laurie Kitch, a U.S.
expat and former UNFAO official who is currently Director of Programs for Qatar Charity, told
Econoff Fabrycky May 5 that his organization will handle the allocation, programming, and
monitoring of the USD 40 million contribution from the Government of Qatar. According to
Kitch, funds will be distributed as follows: -- USD 10 million to the UN Central Emergency
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Response Fund (CERF) -- USD 10 million to the UN Relief and Works Agency (UNRWA) --
USD 10 million to the World Food Program (WFP) -- USD 5 million to the UN Children's
Fund (UNICEF) -- USD 2.75 million to the UN Office of the Coordinator for Humanitarian
Affairs (OCHA) and Integrated Regional Information Network (IRIN) -- USD 2.25 million to
the UN Food and Agricultural Organization (UNFAO) 2. (SBU) Kitch said Qatar Charity has a
payment schedule established with each organization and most are two-year projects. The
charity just hired a new head of its Gaza office (NFI) and will second two people to UNRWA.
Part of the agreements signed by Qatar Charity Chairman Ghanim Bin Saad Al-Saad commit
the UN agencies to help build the capacity of Qatar Charity to manage and deliver program
services. Background on Qatar Charity                               DOHA 00000314 002 OF 002 3.
(SBU) Qatar Charity is the most publicly-active charity in Qatar, and probably the largest.
Though it is a conservative Muslim organization, it is beginning to look at partnerships with
Western charities. It has historically benefited from close ties to the GOQ (e.g., press reports
from at least 2001 on indicate the GOQ directed Qatar Charity to help with specific
humanitarian issues). According to its last annual report, it spent about USD 48.7 million in
2007 on various projects. It is currently experiencing organizational turmoil as a new board
(installed in December) tries to determine how much to focus on domestic social welfare
issues versus international assistance. Qatar Charity has humanitarian and development
activities in 40 countries, and offices in 12 countries, according to Kitch, ranging from 5 to 20
people in each location. The organization has 17 personnel in Khartoum with a branch in
Darfur. Kitch said Qatar Charity is hoping to expand its humanitarian programs in Sudan and
may work with Mercy Corps in this regard. Qatar Charity representatives will visit the U.S. in
June, in part to meet with Mercy Corps and discuss future cooperation. The charity also has
a partnership with the Norwegian Refugee Council, including a staff development program.
4. (SBU) Kitch said the new Qatar Charity Board appears eager to partner with the GOQ. In
particular, they realize Qatar has the ambition and resources to be a significant
development/humanitarian assistance player. With the GOQ's currently weak organizational
capabilities in this field, Qatar Charity is trying to position itself as a humanitarian partner for
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Ratney


Raw content

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